      Case 3:22-cv-00047-CDL            Document 1-1        Filed 04/29/22       Page 1 of 62
                                                                                             EFILED IN OFFICE
                                                                                        CLERK OF SUPERIOR COURT
                                                                                        CLARKE COUNTY, GEORGIA
                                                                                          SU22CV0160
              IN THE SUPERIOR COURT OF ATHENS-CLARKE COUNTY      LISA LOTT
                             STATE OF GEORGIA               APR 01, 2022 05:19 PM


JANE DOE,                                               )                                            Beverly Logan, Clerk
                                                                                                   Clarke County, Georgia

                                                        )
       Plaintiff,                                       )
                                                        )
v.                                                      )      Civil Action No. _______________
                                                        )
CLARKE COUNTY SCHOOL DISTRICT,                          )      JURY TRIAL DEMANDED
                                                        )
                                                        )
       Defendant.                                       )

                                 COMPLAINT FOR DAMAGES

       Plaintiff, Jane Doe (“Plaintiff” or “JD”), brings this Complaint for Damages against

Defendant Clarke County School District, showing this Court as follows:

                                  PREFATORY STATEMENT

       Prior to the filing of the instant action, on August 24, 2018, Plaintiff, by and through

counsel, sent via certified mail to the Superintendent of the Clarke County School District,

members of the Clarke County School District, members of the Clarke County Board of

Commissioners, Marie Yuran, Principal of Clarke Central High School, and Nancy Denson, Mayor

of Athens, Georgia, Ante-Litem notices pursuant to O.C.G.A. § 36-11-1. A copy of Plaintiff’s

Ante-litem letter and return receipt are attached as Exhibit “1.”

                           PARTIES, JURISDICTION AND VENUE

                                                   1.

       JD is a resident and citizen of Mount Berry, Georgia, and was, at all times relevant to this

Complaint, a minor residing in the state of Georgia attending Clarke Central High School

(“CCHS”) as a student. To protect the identity of Plaintiff, a minor at all relevant times and a victim




                                                  1
      Case 3:22-cv-00047-CDL            Document 1-1       Filed 04/29/22      Page 2 of 62




of child sex crimes, JD’s identity is not pled in this Complaint. JD submits herself to the

jurisdiction of this Court by filing this Complaint.

                                                  2.

         Defendant Clarke County School District (hereinafter referred to as “Defendant Clarke

County,” or “Defendant”) is a public-school system operating under the laws of the State of

Georgia with its primary place of business located at 440-1 Dearing Extension, Athens, Georgia

30606.

                                                  3.

         Defendant Clarke County may be served through its Superintendent, Dr. Xernona Thomas,

at 440-1 Dearing Extension, Athens, Georgia 30606.

                                                  4.

         Defendant Clarke County is a recipient of federal funds within the meaning of 20 U.S.C.

§ 1681, et seq.

                                                  5.

         This action is filed pursuant to 42 U.S.C. § 1983 and 20 U.S.C. § 1681 seeking redress for

injuries suffered by JD from deprivation under color of state law, of rights secured by the

Fourteenth Amendment to the United States Constitution and Title IX of the Education

Amendments of 1972.

                                                  6.

         Jurisdiction is proper because Defendant is deemed to be a resident of the State of

Georgia and has committed tortious acts and omissions in Georgia, including the tortious acts

and omissions giving rise to this Complaint.




                                                  2
      Case 3:22-cv-00047-CDL             Document 1-1        Filed 04/29/22     Page 3 of 62




                                                    7.

          Venue is proper in this Court the causes of action originated, and tortious conduct

occurred, in Athens-Clarke County, Georgia, and Defendant resides, has offices, and maintains a

registered agent for service of process in Hart County, Georgia.

                                 APPORTIONMENT OF FAULT
                                                    8.
          Under Georgia law, defendants in civil cases may attempt to shift fault to other defendants,

or other persons/entities who are not parties to the lawsuit. This is called apportionment.

                                                    9.

          Although defendants can apportion fault away from themselves in any case, that

apportionment will reduce the verdict (and judgment) against them only when plaintiffs sue more

than one defendant. Alston & Bird, LLP v. Hatcher Mgmt. Holdings, LLC, 312 Ga. 350, 351

(2021).

                                                    10.

          If a plaintiff sues only one defendant, that defendant may argue that fault should be

apportioned to others during the trial, and the jury may ultimately apportion fault to others, but the

single defendant will, itself, be liable for the entire amount of the verdict, without regard to

any apportionment. Id. In other words, the full amount of the judgment will be entered against the

single defendant, without regard to any apportionment, and without any reduction to the judgment

as a result of any apportionment. Id.




                                                   3
      Case 3:22-cv-00047-CDL            Document 1-1          Filed 04/29/22   Page 4 of 62




                                                  11.

       Since JD here has sued only one defendant, the jury’s apportionment in this case will not

affect the Court’s judgment, if any, against Defendant Velasquez, who will be liable for the entire

amount of any verdict in favor of JD.

                                   FACTUAL BACKROUND

                                                  12.

       At all times pertinent to this Complaint, JD was a student at Clarke County High School

(“CCHS”) in Athens, Georgia under the care and supervision of Defendant Clarke County, through

its agents and employees.

                                                  13.

       At all times relevant to this Complaint, Maurice Bouchard (“Bouchard”) was employed as

a 9th grade teacher at CCHS for Defendant Clarke County.

                                                  14.

       At all times relevant to Plaintiff’s claims, JD was between the ages of 14-15 years old and

in the 9th grade attending CCHS.

                                                  15.

       According to CCHS’s website, “[w]ith a commitment to preparing students for success by

inspiring and challenging intellectual and personal growth, CCHS instills core values of diversity,

trust, respect, integrity and excellence in its community.”

                            BOUCHARD’S GROOMING EFFORTS

                                                  16.

       Over the course of JD’s enrollment at CCHS, Bouchard took systematic, targeted steps to

groom JD and undertook various actions to gain trust, all of which was for the sole purpose of


                                                 4
         Case 3:22-cv-00047-CDL        Document 1-1       Filed 04/29/22      Page 5 of 62




facilitating an inappropriate, non-pedagogical personal relationship including increased one-on-

one time.

                                                  17.

         In August 2016, JD began attending CCHS as a 9th grade student enrolled in Bouchard’s

Advanced Biology class.

                                                  18.

         Upon starting Bouchard’s class, Bouchard immediately targeted and profiled JD because

he believed JD looked similar to a female character from the Japanese anime show “Great Teacher

Onizuka.” The show’s main character is a perverted male in his 20s who chooses to become a

teacher based on the perception that teachers have a strong romantic influence over their female

students.

                                                  19.

         Text messages exchanged between Bouchard and JD reveal that Bouchard was attracted to

JD because of her “sexy” mixed Asian-Caucasian appearance and Asian eyes.

                                                  20.

         Commencing on JD’s first day attending Bouchard’s class, Bouchard openly flirted with

JD. This conduct continued every day during Bouchard’s class.

                                                  21.

         Soon after JD began attending Bouchard’s class, Bouchard began exhibiting possessive

behavior towards JD, which progressed rapidly.

                                                  22.

         Nearly every day during class, Bouchard would find reasons to pull JD out into the hallway

alone.



                                                 5
      Case 3:22-cv-00047-CDL           Document 1-1       Filed 04/29/22       Page 6 of 62




                                                 23.

       During class, Bouchard regularly confiscated JD’s phone without any valid justification

for the purpose of seeing if JD was having conversations with other boys her age.

                                                 24.

       Bouchard memorized JD’s class schedule to make sure he was always standing in the

hallway to watch JD as she walked by in between classes. Bouchard harassed and yelled at JD to

come into his classroom whenever he would see her. JD always complied, as she was scared to

say no to Bouchard, which often resulted in JD arriving late to her next class.

                                                 25.

       When students began receiving grades back from their first assignments, Bouchard told JD

that she was falling behind in his class and that she should start spending her lunch periods with

him in his classroom so that he could provide her with “extra help.” In reality, JD was performing

well in Bouchard’s class and received better grades than other students. Bouchard’s motive behind

the “extra help” was to have consistent alone time with JD in his classroom.

                                                 26.

       This alone time with JD allowed Bouchard to prey upon JD and engage in a practice called

“grooming” where he conditioned JD to trust him.

                                                 27.

       During this time in Bouchard’s classroom at school, Bouchard would often:

       a. lock JD in his classroom closet against her will for extended periods of time;

       b. make sexual comments towards JD;

       c. sexually abuse JD by groping her breasts;

       d. request sexual pictures of JD;



                                                 6
      Case 3:22-cv-00047-CDL          Document 1-1        Filed 04/29/22      Page 7 of 62




       e. disclose that he had sexual fantasies about dominating JD;

       f. teach JD about BDSM 1 intercourse;

       g. tell JD that he had raped young teenage girls in the past and became a high school;

           teacher for the express purpose of having affairs with students; and

       h. perform many other abusive acts against JD.

                                                 28.

       After learning that JD was dating a boy in her class, Bouchard attempted to dominate and

psychologically abuse JD. Bouchard would tell JD that she was “promiscuous” and that she was a

“seductress” and a “whore”.

                                                 29.

       Bouchard told JD that it was her fault that he liked her and that JD was ruining his marriage

because Bouchard almost yelled out JD’s name while having intercourse with his wife.

                                                 30.

       Bouchard told JD that his father had sexually abused an underage girl earlier in life and

that this made Bouchard feel better about abusing JD.

                                                 31.

       As the year progressed, Bouchard’s inappropriate conduct towards JD was no longer

limited to his classroom, but it was also conducted openly at CCHS.

                                                 32.

       While at school, Bouchard, who lived nearby to JD, would frequently ask JD to sneak out

of her home at night so that they could engage in sexual intercourse at his home.




1
      “BDSM” is an umbrella term, meaning “Bondage and Discipline; Dominance and
Submission, Sadochism and Masochism.”
                                                 7
      Case 3:22-cv-00047-CDL          Document 1-1        Filed 04/29/22     Page 8 of 62




                                                 33.

       As Bouchard’s abusive relationship with JD continued to progress, JD began trying to

make herself look “as ugly as possible” so that Bouchard would lose interest in her. However, JD’s

efforts were to no avail.

                                                 34.

       In addition to abusing JD sexually, Bouchard began encouraging JD to become bulimic

and throw up after each meal.

                                                 35.

       Due to Bouchard’s persistent psychological abuse, JD’s mental health deteriorated, her

Obsessive-Compulsive Disorder (“OCD”) progressed, and she developed a severe eating disorder.

                                                 36.

       Around this point in time, JD began receiving failing grades in her classes.

                DEFENDANT’S KNOWLEDGE OF WIDESPREAD ABUSE

                                                 37.

       Prior to abusing JD, in or around the 2014-2015 or 2015-2016 school year, while employed

as a teacher at CCHS, a student reporter for the Odyssey, the CCHS student news magazine,

reported Bouchard to CCHS administration after Bouchard “accidently” sent sea urchin

pornography to the student. Bouchard also told this student reporter that he had a “sex addiction.”

Despite these reported acts of sexual misconduct, Bouchard faced no disciplinary action and was

permitted to keep his teaching position at CCHS.




                                                8
      Case 3:22-cv-00047-CDL            Document 1-1        Filed 04/29/22      Page 9 of 62




                                                   38.

       In August of 2016, multiple students in JD’s class reported to Yuran that Bouchard

frequently acted inappropriately toward JD during class and that Bouchard spent a significant

amount of time alone with JD in the hallway instead of teaching.

                                                   39.

       During the Fall of 2016 and Spring of 2017, multiple students in JD’s class reported to

Yuran that Bouchard and JD had been alone in a closet together in Bouchard’s classroom on

multiple occasions.

                                                   40.

       During the Fall of 2016, JD would frequently arrive late to her classes as a result of

Bouchard pulling her into his classroom in between class periods. When this would happen, JD’s

teachers knew that JD was coming from Bouchard’s classroom.

                                                   41.

       As the year progressed, Bouchard’s inappropriate behavior towards JD was no longer

limited to his classroom, but it was conducted openly at CCHS, and it became common knowledge

among the CCHS teachers and administration.

                                                   42.

       In or around February of 2017, multiple teachers reported to the administration that JD

would often cry at CCHS, stare at the wall for entire class periods, or exhibit listless, unresponsive

behavior. The CCHS teachers and administration both knew this was due to Bouchard’s sexually

inappropriate conduct towards JD.




                                                  9
      Case 3:22-cv-00047-CDL            Document 1-1        Filed 04/29/22      Page 10 of 62




                                                   43.

       On one occasion, in or around the Spring of 2017, Bouchard’s fellow science teacher,

Thomasina Miranda, walked in on Bouchard and JD alone in Bouchard’s classroom and said, “Is

this the child? You need to stop because you are going to get our school in trouble. This is

disgusting.”

                                                   44.

       Around this same time, in or around the Spring of 2017, another ninth-grade teacher

confronted Bouchard in the hallway about Bouchard’s sexually inappropriate conduct towards JD.

                                                   45.

       Around this same time, in or around the Spring of 2017, Bouchard disclosed to JD that

numerous teachers had previously confronted Bouchard regarding his inappropriate conduct

towards JD.

                                                   46.

       After these events, in the Spring of 2017, the CCHS administration expressly permitted

Bouchard to spend more and more time alone with JD by mandating that JD eat lunch every day

in Bouchard’s classroom and permitting Bouchard to tutor JD both during and after school as part

of a 504-accommodation plan2 and Individualized Education Plan (“IEP”). 3




2
        504 Plans help students with disabilities access the same education as their classmates. A
child has the right to a 504 plan if: they have any disability, have a record of a disability, or are
regarded as having a disability, and the disability interferes with their ability to learn in a general
education classroom.
3
        An Individualized Educational Plan (IEP) is a plan or program developed to ensure that a
child who has a disability identified under the law and is attending an elementary or secondary
educational institution receives specialized instruction and related services.
                                                  10
     Case 3:22-cv-00047-CDL           Document 1-1        Filed 04/29/22      Page 11 of 62




                                                  47.

       Defendant’s decision to permit Bouchard to “tutor” JD alone, even after becoming aware

of a series of prior incidents involving Bouchard that should have put Defendant on notice of

Bouchard’s abusive tendencies, allowed Bouchard to continue abusing JD and to take his sexual

abuse of JD to new heights.

                                                  48.

        On one occasion, after school, Bouchard had JD place her hand in his pants where he

proceeded to have JD touch his erect penis for the purpose of his own sexual gratification.

                                                  49.

       On a subsequent occasion after school one day when Mr. Bouchard was driving JD home,

Mr. Bouchard drove JD to a wooded area off-campus where Mr. Bouchard proceeded to vaginally

rape JD in the backseat of his car. Despite JD’s visible pain and suffering and her saying “no” as

her virginity and innocence was being stripped away, Mr. Bouchard continued raping JD until he

ejaculated.

                                                  50.

       On a separate occasion after school, in May of 2017, Bouchard forced JD to have oral sex

with him while in his vehicle.

                                                  51.

       Bouchard utilized his authority as a teacher to create the opportunity for and to facilitate

his sexual abuse of JD. Specifically, Bouchard’s sexual misconduct towards JD started at CCHS,

Bouchard held his authoritative position as a teacher over JD’s heads, and Bouchard took

advantage of his position as a teacher and tutor to create the opportunity to be alone and make

improper sexual contact with JD.



                                                11
     Case 3:22-cv-00047-CDL              Document 1-1   Filed 04/29/22    Page 12 of 62




                                                 52.

       In or around June of 2017, Lynn Duke from Clarke County Human Resources received

an anonymous report that Bouchard had been sending inappropriate text messages to JD. Despite

this report, Bouchard faced no disciplinary action and was permitted to keep his CCHS teaching

job and his position of authority over JD.

                                                 53.

       During the Summer of 2017, Bouchard continued his sexual abuse of JD, which persisted

into the beginning of the school year.

                                                 54.

       In August 2017, CCHS Principal Marie Yuran (“Yuran”) and Clarke County School

District Superintendent Demond Means (“Means”) learned of inappropriate text messages between

JD and Bouchard. At first, Yuran and Means chose against taking any adverse employment actions

against Bouchard.

                                                 55.

       Later on, after additional text messages between JD and Bouchard had surfaced, Bouchard

was called in to meet with police investigators and CCHS administrators, including Yuran and

Means. Yuran and Means publicly represented in a news article that Bouchard “resigned” shortly

after the meeting.4 In reality, rather than terminating Bouchard themselves, Yuran and Means

simply forced Bouchard to resign.

                                                 56.

       Rather than taking early action to prevent or stop the Bouchard’s inappropriate conduct

towards JD, the CCHS administration expressly permitted Bouchard to spend more and more time



4
       https://odysseynewsmagazine.com/2017/08/29/breaking-inappropriate-texts/
                                                12
     Case 3:22-cv-00047-CDL           Document 1-1       Filed 04/29/22      Page 13 of 62




alone with JD by placing him in an official position as a tutor as part of JD’s 504-accommodation

plan and IEP.

                                                 57.

       CCHS failed to adequately train its employees to handle these recurring situations

presenting an obvious potential of Bouchard abusing JD. In light of the duties assigned to CCHS

teachers and administrators, the need for more or different training was blatantly apparent.

                                                 58.

       Defendant’s decision to permit Bouchard to “tutor” JD after school, even after becoming

aware of a series of prior incidents involving Bouchard that should have put Defendant on notice

of Bouchard’s abusive tendencies, allowed Bouchard to continue abusing JD and to take his sexual

abuse of JD to new heights.

                                                 59.

       At all times relevant, Bouchard was in a confidential relationship with JD and was situated

to exercise a controlling influence over her will, conduct, and interests, as defined by O.C.G.A. §

23-2-58.

                                                 60.

       At all times relevant, Bouchard was acting within the course and scope of his employment

with Defendant Clarke County.

                                                 61.

       At all times relevant, Bouchard acted under the color of his employment for Defendant

Clarke County.

                                                 62.

       At all times relevant, Bouchard was an agent and employee of Defendant Clarke County.



                                                13
      Case 3:22-cv-00047-CDL          Document 1-1        Filed 04/29/22      Page 14 of 62




                              COUNT I
    POST-REPORT DELIBERATE INDIFFERENCE IN VIOLATION OF TITLE IX,
                        20 U.S.C. § 1681, et seq.

                                                  63.

       Title IX of the Education Amendments of 1972 provides, with certain exceptions, that

“[n]o person in the United States shall, on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under any education program or activity

receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

                                                  64.

       Defendant Clarke Central receives federal financial assistance pursuant to Title IX.

                                                  65.

       As a result of prior allegations of sexual misconduct and numerous instances of reporting,

Defendant Clarke County had actual knowledge of Bouchard’s sexual abuse, sexual harassment,

assault, and battery against JD.

                                                  66.

       JD suffered teacher-on-student sexual abuse and harassment, which is considered sex

discrimination prohibited by Title IX.

                                                  67.

       Defendant Clarke County had actual knowledge of the sexual abuse and harassment that

JD continued to suffer by Bouchard after receiving reports of Bouchard’s sexual abuse and

harassment.

                                                  68.

       Defendant Clarke County’s administrators, employees, and agents with actual knowledge

of the prior allegations of sexual misconduct and numerous reports against Bouchard had the



                                                 14
     Case 3:22-cv-00047-CDL           Document 1-1       Filed 04/29/22      Page 15 of 62




authority and ability to investigate and take meaningful corrective action to remediate the sexual

abuse, sexual harassment, and the hostile educational environment that JD suffered, but Defendant

Clarke County failed to do so.

                                                 69.

       While Bouchard continued to sexually abuse and harass JD, Defendant Clarke County

failed to take meaningful disciplinary or corrective action against Bouchard and continually failed

to take corrective action to remediate the sexual abuse, sexual harassment, and hostile educational

environment that JD experienced after having knowledge of reports of Bouchard’s actions were

clearly unreasonable in light of the known circumstances.

                                                 70.

       Through its actions and inaction, Defendant Clarke County created and nurtured an

environment in which sexual abuse and harassment were tolerated, thus encouraging Bouchard’s

sexual abuse and harassment against JD and proximately caused severe injuries to JD.

                                                 71.

       As a result of Defendant Clarke County’s deliberate indifference, JD was subjected to

additional sexual abuse and harassment by Bouchard.

                                                 72.

       The sexual abuse, harassment, assault, and battery Bouchard inflicted upon JD was severe,

pervasive, and objectively offensive, and effectively barred JD access to educational opportunities

and benefits.

                                                 73.

       The sexual abuse, harassment, assault, and battery inflicted upon JD, along with Defendant

Clarke Central’s refusal to take any meaningful action in response to reports of Bouchard’s sexual



                                                15
      Case 3:22-cv-00047-CDL           Document 1-1       Filed 04/29/22     Page 16 of 62




misconduct and harassment against JD, effectively barred JD access to educational opportunities

and benefits. Defendant Clarke Central’s actions caused JD’s parents to withdraw her from CCHS.

As a result, Defendant Clarke Central deprived JD of numerous educational opportunities and

benefits.

                                                  74.

       By its actions and inaction, Defendant Clarke Central acted with deliberate indifference

toward the rights of JD to a safe and secure educational environment, thus materially impairing

her ability to pursue her education at CCHS, thus violating the requirements of Title IX.

                                                  75.

       Specifically, Defendant Clarke Central violated Title IX by inter alia:

       a. Choosing to take sides against JD, by refusing to discipline Bouchard;

       b. Ignoring complaints and reports regarding Bouchard’s sexual abuse, harassment, and

            misconduct against JD, and/or being deliberately indifferent thereto;

       c. Failing to conduct an unbiased investigation into reports of Bouchard’s sexual

            misconduct, and/or being deliberately indifferent thereto;

       d. Requiring JD to protect herself against further sexual abuse, harassment, and

            misconduct following reports against Bouchard;

       e. Protecting and insulating Bouchard, despite numerous credible and consistent reports

            of Bouchard’s sexual misconduct against JD;

       f. Creating a climate that tolerated sexual abuse and harassment against JD, and/or being

            deliberately indifferent thereto;




                                                16
     Case 3:22-cv-00047-CDL            Document 1-1        Filed 04/29/22       Page 17 of 62




       g. Failing to develop or adopt policies and procedures to properly address complaints of

           teacher on student sexual abuse, harassment, assault, and battery, and post-report sexual

           abuse and harassment;

       h. Failing to provide policy, procedures, or training for administrators, employees,

           students, and students’ parents about sexual abuse and harassment;

       i. Failing to follow existing policies and procedures, or training regarding reports of

           teacher on student sexual abuse and harassment, including Georgia’s mandatory

           reporter laws;

       j. Failing to discipline Bouchard and/or Defendant Clarke Central’s employees and

           agents identified herein for their willful disregard to JD’s safety and rights, and/or being

           deliberately indifferent thereto;

       k. Failing to provide, offer, recommend, or coordinate adequate psychological counseling

           and academic assistance and services to JD after she was sexually abused, harassed,

           assaulted, and battered by Bouchard, and/or being deliberately indifferent thereto; and

       l. Through other actions, inaction, and deliberate indifference.

                                                  76.

       As a direct and proximate result of Defendant Clarke County’s action, inaction, and

deliberate indifference, JD sustained and continues to sustain injuries for which she is entitled to

be compensated, including but not limited to:

       a. Past, present, and future physical and psychological pain, suffering, and impairment;

       b. Medical bills, counseling, and other costs and expenses for past and future medical and

           psychological care;




                                                 17
      Case 3:22-cv-00047-CDL           Document 1-1         Filed 04/29/22    Page 18 of 62




       c. A marred educational record, an impaired educational capacity and future earning

           capacity;

       d. Attorneys’ fees and costs; and

Such other further relief as this Court deems just and proper.

                              COUNT II
      VIOLATION OF THE RIGHT TO EQUAL PROTECTION (42 U.S.C. § 1983)

                                                   77.

       42 U.S.C. § 1983 authorizes private parties to enforce their federal constitutional rights and

federal statutory rights against defendants who have acted under color of state law. JD had a

constitutional right not to be sexually abused while in the care of Defendant Clarke County and

has a constitutional due process liberty interest to bodily integrity,

                                                   78.

       At all times relevant to this Complaint, the conduct of Defendant and its agents was subject

to 42 U.S.C. § 1983.

                                                   79.

       Acting under color of law and pursuant to official policy and/or custom, Defendant Clarke

County knowingly, recklessly, and/or with gross negligence failed to instruct, supervise, control

and discipline on a continuing basis Bouchard in his duties to refrain from depriving JD of her

statutory rights under Title IX and/or her substantive due process rights guaranteed by the

Fourteenth Amendment.

                                                   80.

       Defendant Clarke County had actual knowledge of the severe and pervasive sexual

harassment, abuse, assault, and battery on JD as well as a report of sexual harassment of another

student by Bouchard at CCHS.

                                                  18
      Case 3:22-cv-00047-CDL            Document 1-1      Filed 04/29/22      Page 19 of 62




                                                    81.

        Through these reports, both Superintendent Means and Principal Yuran had actual

knowledge of Bouchard’s abuse, which provided Defendant Clarke County with constructive

notice of Bouchard’s abuse.

                                                    82.

        Defendant Clarke Central knew or should have known of the severe and pervasive sexual

harassment, abuse, assault, and battery of JD by Bouchard.

                                                    83.

        Defendant Clarke County had the power to prevent or aid in preventing the commission of

the aforementioned deprivation of JD’s federal statutory rights, and could have done so by

exercising reasonable diligence, yet Defendant Clarke County knowingly, recklessly, and/or with

gross negligence failed or refused to do so.

                                                    84.

        Defendant Clarke County had actual and constructive notice and knowledge of Bouchard’s

persistent pattern of abuse and illegal conduct towards JD as there were multiple reports of the

abuse, and it still failed to take any further action.

                                                    85.

        Defendant Clarke County directly or indirectly, under color of law, approved or ratified the

unlawful, deliberate, malicious, reckless, and wanton conduct of Bouchard described herein.

                                                    86.

        Defendant Clarke County had an affirmative constitutional duty to protect JD’s right to

bodily integrity, including protection from sexual abuse by one of its employees.




                                                   19
      Case 3:22-cv-00047-CDL           Document 1-1        Filed 04/29/22       Page 20 of 62




                                                   87.

       Defendant Clarke County, under color of law, failed to maintain and/or enforce policies,

customs, practices, and training to prevent a violation of federal statutory and constitutional rights,

rendering Defendant Clarke County deliberately indifferent to JD’s federally guaranteed rights

under Title IX and her liberty interest in her bodily integrity as protected the substantive due

process clause of the Fourteenth Amendment. Defendant Clarke County’s policies, practices, acts,

and omissions placed JD at unreasonable and foreseeable risk of being sexually abused by

Bouchard.

                                                   88.

       Despite having subjective knowledge of the risk of serious harm to its students, Defendant

Clarke County acted with deliberate indifference towards the safety and wellbeing of its students,

including JD, in disregarding that risk. This conduct includes, but is not limited to, Defendant

Clarke County’s failure to take required action in response to multiple credible reports of

Bouchard’s abusive conducts towards students, including JD, which established a clear and

persistent pattern of abuse by Bouchard. Defendant Clarke County failed to report these allegations

to authorities or parents and instead allowed Bouchard to remain employed and did not terminate

him even after pornography was sent to a student reporter and after numerous reports of

Bouchard’s sexual misconduct against JD were made. Instead, CCHS administration expressly

permitted Bouchard to spend more and more time alone with JD by letting him tutor her after

school as part of a 504-accommodation plan and IEP, thereby establishing a custom of deliberate

indifference to abuse.




                                                  20
      Case 3:22-cv-00047-CDL           Document 1-1     Filed 04/29/22     Page 21 of 62




                                                89.

       Defendant Clarke County had subjective knowledge of the risk of serious harm to students

through receipt of multiple reports of Bouchard’s abuse, yet Defendant Clarke County deliberately

disregarded that risk by failing to take appropriate action in the face of Bouchard’s persistent

pattern of abuse at CCHS.

                                                90.

       Despite Defendant Clarke County’s actual and/or constructive knowledge of the persistent

pattern of abuse by Bouchard, its employee, Defendant Clarke County tacitly approved and

deliberately ignored the abuse, such that Defendant Clarke County’s inaction established a custom

of deliberate indifference to abuse.

                                                91.

       Defendant Clarke County’s custom of deliberate indifference to abuse directly resulted in

the continued abuse of JD by Bouchard.

                                                92.

       Defendant Clarke County’s senior officials, including Superintendent Means and Principal

Yuran, made express decisions to retain Bouchard and to not take any action to end Bouchard’s

pattern of abuse, despite receiving multiple credible reports of Bouchard’s abuse towards another

student and JD. These individuals were vested with ultimate, non-reviewable decision-making

authority regarding credible reports of teacher-on-student abuse and ultimately approved and

implemented the policy and custom of deliberate indifferent to abuse.




                                               21
      Case 3:22-cv-00047-CDL           Document 1-1        Filed 04/29/22     Page 22 of 62




                                                     93.

       Defendant Clarke County took no action to correct its senior officials’ deliberate inactions

for reports of sexual harassment by Bouchard and other failures to ensure that JD had an education

free of sexual harassment.

                                                     94.

       Means’ failure to supervise violated JD’s, and other students’, substantive due process

rights under the Fourteenth Amendment including equal access to her educational institution’s

resources and opportunities without discrimination on the basis of sex, freedom from sexual abuse

in school, and right to bodily integrity.

                                                     95.

       As a direct and proximate cause of the negligent and intentional acts of Bouchard as set

forth above, JD suffered sexual abuse, mental anguish, and a denial of education benefits in

connection with the deprivation of her federal statutory rights guaranteed under Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, the substantive due process clause of the

Fourteenth Amendment and protected by 42 U.S.C. § 1983.

                              COUNT III
      VIOLATION OF SUBSTANTIVE DUE PROCESS RIGHTS (42 U.S.C. § 1983)

                                                     96.

       42 U.S.C. § 1983 authorizes private parties to enforce their federal constitutional rights and

federal statutory rights against defendants who have acted under color of state law. JD had a

constitutional right not to be sexually abused while in the care of Bouchard and has a constitutional

due process liberty interest to bodily integrity,




                                                    22
      Case 3:22-cv-00047-CDL          Document 1-1        Filed 04/29/22      Page 23 of 62




                                                  97.

       At all times relevant to this Complaint, the conduct of Bouchard was subject to 42 U.S.C.

§ 1983.

                                                  98.

       At all times relevant to this Complaint, Bouchard, as a teacher and school-appointed tutor,

was acting under the discretion and control of Defendant Clarke County and acting under color of

state law.

                                                  99.

       Bouchard committed the acts of sexual harassment, abuse, assault, and battery against JD.

                                              100.

       Acting under color of law and pursuant to official policy and/or custom, Defendant Clarke

County and its agents knowingly, recklessly, or with gross negligence failed to instruct, supervise,

control, and discipline on a continuing basis Bouchard in his duties to refrain from depriving JD

of her statutory rights under Title IX and/or her substantive due process rights guaranteed by the

Fourteenth Amendment.

                                              101.

       Defendant and Bouchard’s conduct, as complained of herein, was performed under color

of state law and deprived JD of her federal statutory and constitutional rights.

                                              102.

       As a direct and proximate cause of the negligent and intentional acts of Defendant and its

agents as set forth above, JD suffered sexual abuse, mental anguish, and a denial of education

benefits in connection with the deprivation of her federal statutory rights guaranteed under Title




                                                 23
      Case 3:22-cv-00047-CDL          Document 1-1         Filed 04/29/22      Page 24 of 62




IX of the Education Amendments of 1972, 20 U.S.C. § 1681, the substantive due process clause

of the Fourteenth Amendment and protected by 42 U.S.C. § 1983.

                                         COUNT IV
                                      ATTORNEY’S FEES

                                              103.

       Defendant’s actions constitute willful, intentional, and tortious conduct. Every intentional

tort involves an element of bad faith that entitles a person to recover the expenses of litigation,

including attorney’s fees.

                                              104.

       The actions of Defendant and its agents and representatives have caused Plaintiff

unnecessary trouble and expense.

                                              105.

       Plaintiff is entitled to recover the necessary expenses of litigation, including her attorney’s

fees from the Defendant pursuant to O.C.G.A. § 13-6-11.

       WHEREFORE, Plaintiff prays and respectfully demand verdict and judgment as follows:

       a.   That summons and process issue and that Defendant be served with the summons

            and a copy of this Complaint as provided by law, and that said Defendant be

            required to appear and answer;

       b.   That Plaintiff be awarded compensatory damages against the Defendant for the

            emotional and physical injuries sustained by Plaintiff, in an amount as

            may be determined by the enlightened conscience of an impartial jury as shall be

            shown by the evidence;

       c.   That Plaintiff be awarded special damages against the Defendant for the medical

            expenses of JD in such amounts as shall be shown by the evidence and proven at trial;


                                                 24
     Case 3:22-cv-00047-CDL           Document 1-1       Filed 04/29/22      Page 25 of 62




      d. That Plaintiff be awarded compensatory damages against Defendant, for the

           conscious pain and suffering of JD, in such amounts as may be determined by the

           enlightened conscience of an impartial jury as shall be shown by the evidence;

      e.   That Plaintiff be awarded attorney’s fees and costs in pursuing this action;

      f.   That Plaintiff be granted a trial by jury;

      g.   That Defendant be charged with all court costs attributable to this action and such

           other costs reasonably incurred in the prosecution and trial of this case; and

      h.    That Plaintiff be granted such other and further relief that may be supported by the

            evidence and as this Court deems just and proper.

                      Respectfully submitted this 1st day of April, 2022.

                                              PENN LAW LLC

                                              /s/ Darren W. Penn
                                              DARREN W. PENN
                                              Georgia Bar No. 571322
                                              darren@pennlawgroup.com
                                              KEVIN M. KETNER
                                              Georgia Bar No. 418233
                                              kevin@pennlawgroup.com

4200 Northside Parkway, NW
Building One, Suite 100
Atlanta, Georgia 30327
Phone/Fax: (404) 961-7655

                                              THE HULL FIRM, LLC

                                              A. KAMAU HULL
                                              Georgia Bar No. 147047
                                              kamau@thehullfirmllc.com

3720 Atlanta Highway, Suite 3
Athens, Georgia 30606
Phone: 706-995-7417
                                              Attorneys for Plaintiff



                                                 25
    Case 3:22-cv-00047-CDL            Document 1-1         Filed 04/29/22      Page 26 of 62




                                PENN LAW
                                                 L C
                                         August 24, 2018

Via Email, Federal Express & Certified Mail        Via Email, Federal Express & Certified Mail
RRR# 9414 7118 9956 0153 7070 94                   RRR# 9414 7118 9956 0153 7010 92
Nancy Denson                                       Sharyn Dickerson, Commissioner
Mayor, Unified Government of Athens-Clarke         District 1, Athens-Clarke County, GA
County, Georgia                                    317 Blue Heron Drive
301 College Ave.                                   Athens, GA 30605
Suite 300                                          sharyn.dickerson@athensclarkecounty.com
Athens, GA 30601
nancy.denson@athensclarkecounty.com

Via Email, Federal Express & Certified Mail        Via Email, Federal Express & Certified Mail
RRR# 9414 7118 9956 0153 1332 37                   RRR# 9414 7118 9956 0153 1343 26
Melissa Link, Commissioner                         Mariah Parker, Commissioner
District 3, Athens-Clarke County, GA               District 2, Athens-Clarke County, GA
148 Hiawassee Ave.                                 170 Cone Drive
Athens, GA 30601                                   Athens, GA 30601
melissa.link@athensclarkecounty.com                mariah.parker@accgov.com

Via Email, Federal Express & Certified Mail        Via Email, Federal Express & Certified Mail
RRR# 9414 7118 9956 0153 1354 77                   RRR# 9414 7118 9956 0153 1325 99
Jared Bailey Commissioner                          Allison Wright, Commissioner
District 5, Athens-Clarke County, GA               District 4, Athens-Clarke County, GA
145 Marsha Court                                   430 Hampton Court
Athens, GA 30606                                   Athens, GA 30605
jared.bailey@athensclarkecounty.com                allison.wright@athensclarkecounty.com

Via Email, Federal Express & Certified Mail        Via Email, Federal Express & Certified Mail
RRR# 9414 7118 9956 0153 1305 64                   RRR# 9414 7118 9956 0153 1377 23
Diane Bell, Commissioner                           Jerry NeSmith, Commisioner
District 7, Athens-Clarke County, GA               District 6 Athens-Clarke County, GA
130 Duncan Springs Road                            210 Deerhill Drive
Athens, GA 30606                                   Bogart, GA 30622
Diane.bell@athensclarkecounty.com                  jerry.nesmith@athensclarkecounty.com

Via Email, Federal Express & Certified Mail        Via Email, Federal Express & Certified Mail
RRR# 9414 7118 9956 0153 1312 19                   RRR# 9414 7118 9956 0153 1196 44
Kelly Girtz, Commissioner                          Andy Herod, Commissioner
District 9, Athens-Clarke County, GA               District 8 Athens-Clarke County, GA
562 Pulaski Street                                 315 Brookwood Drive
Athens, GA 30601                                   Athens, GA 30605
kelly.girtz@athensclarkecounty.com                 andy.herod@athensclarkecounty.com

                                                                                        Plaintiffs Exhibit
                                                                                                         exhibitsticker.com




                 4200 Northside Parkway, Suite 100, Building 100, Atlanta, GA 30327
                                   (404) 961-7655 Telephone/Fax
                                      www.pennlawgroup.com
                                                                                                 1
     Case 3:22-cv-00047-CDL              Document 1-1      Filed 04/29/22    Page 27 of 62

Clarke County School District Ante Litem Notice
Page 2 of 5
August 24, 2018

 Via Email, Federal Express & Certified Mail       Via Email, Federal Express & Certified Mail
 RRR# 9414 7118 9956 0145 3703 67                  RRR# 9414 7118 9956 0145 3877 16
 Demond Means                                      Mike Hamby, Commissioner
 Superintendent, Clarke County School District     District 10, Athens-Clarke County, GA
 440-1 Dearing Extension                           375 West Rutherford Street
 Athens, GA 30606                                  Athens, GA 30606
 superintendent@clarke.k12.ga.us                   mike.hamby@athensclarkecounty.com

 Via Federal Express & Certified Mail              Via Federal Express & Certified Mail
 RRR# 9414 7118 9956 0145 3715 93                  RRR# 9414 7118 9956 0145 3814 86
 Marie Yuran                                       Greg Davis - District One
 Principal, Clarke Central High School             Clarke County School District
 350 South Miledge Avenue                          Board of Education
 Athens, GA 30605                                  210 Deertree Drive
 yuranm@clarke.k12ga.us                            Athens, GA 30605
                                                   davisg@clarke.k12.ga.us

 Via Federal Express & Certified Mail              Via Federal Express & Certified Mail
 RRR# 9414 7118 9956 0145 3535 75                  RRR# 9414 7118 9956 0145 3034 88
 Vernon Payne - District Two                       Linda Davis - District Three
 Clarke County School District                     Clarke County School District
 Board of Education                                Board of Education
 200 Payne Drive                                   167 Peach Street
 Athens, GA 30601                                  Athens, GA 30606
 paynev@clarke.k12.ga.us                           davislin@clarke.k12.ga.us

 Via Federal Express & Certified Mail              Via Federal Express & Certified Mail
 RRR# 9414 7118 9956 0145 3513 28                  RRR# 9414 7118 9956 0145 3001 04
 Jared Ruiz Bybee - District Four                  Sarah Ellis - District Five
 Clarke County School District                     Clarke County School District
 Board of Education                                Board of Education
 310 Milledge Hts                                  321 Dubose Avenue
 Athens, GA, 30605                                 Athens, GA 30601
 bybeej@clarke.k12.ga.us                           elliss@clarke.k12.ga.us


 Via Federal Express & Certified Mail              Via Federal Express & Certified Mail
 RRR# 9414 7118 9956 0145 3641 99                  RRR# 9414 7118 9956 0145 3017 29
 Charles Worthy - District Six                     Carol Williams - District Seven
 Clarke County School District                     Clarke County School District
 Board of Education                                Board of Education
 120 Melbourne Drive                               115 St. George Place
 Athens, GA 30606                                  Athens, GA 30606
 worthyc@clarke.k12.ga.us                          williamscar@clarke.k12.ga.us




                                                 4
                                     (404) 961-7655 Telephone/Fax
                                       www.pennlawgroup.com
         Case 3:22-cv-00047-CDL             Document 1-1         Filed 04/29/22        Page 28 of 62

Clarke County School District Ante Litem Notice
Page 3 of 5
August 24, 2018

    Via Federal Express & Certified Mail                  Via Federal Express & Certified Mail
    RRR# 9414 7118 9956 0145 2102 67                      RRR# 9414 7118 9956 0145 2404 62
    John A. Knox - District Eight                         Ovita Thornton - District Nine
    Clarke County School District                         Clarke County School District
    Board of Education                                    Board of Education
    225 Gentry Dr.                                        P.O. Box 82313
    Athens, GA 30605                                      Athens, GA 30608-2313
    Email: knoxj@clarke.k12.ga.us                         Email: thorntono@clarke.k12.ga.us

    Via Federal Express & Certified Mail                  Via Federal Express & Certified Mail
    RRR# 9414 7118 9956 0145 2499 60                      RRR# 9414 7118 9956 0145 2413 77
    Lynn Duke, Executive Director of Human                Julie Coile, Human Resources Specialist/Schools
    Resources and Information Services                    and Facilities
    Clarke County School District                         Clarke County School District
    440-1 Dearing Extension                               440-1 Dearing Extension
    Athens, GA 30606                                      Athens, GA 30606
    dukel@clarke.k12.ga.us                                coilej@clarke.k12.ga.us



                                   ANTE LITEM NOTICE OF CLAIMS

          Claimant:        May and Ty Dartez and the Parents and Natural Guardian of A.D.
          Claim:           Personal Injuries Resulting in Sexual Harassment and Abuse by Teacher
          Date:            August 28, 2017
          Location:        Clarke Central High School, 350 S. Milledge Ave., Athens, GA 30605.

Dear Mayor and Commissioners:

         This firm, along with the Hull Firm represents May and Ty Dartez as the parents and natural
guardian of A.D. 1 regarding claims against Clarke Central High School/School District and others arising
out of a sustained pattern of sexual misconduct on the part of a Clarke Central High School teacher
towards A.D. which culminated on or about August 28, 2017.

         Please accept this letter as ante litem notice of a claim against Clarke Central School
District/Board of Education for the debilitating and permanent injuries sustained by A.D. pursuant to
O.C.G.A. § 36-11-1 et seq. and any other laws, statutes, rules, or regulations requiring the preservation of
claims against governmental entities. This notice is presented within 12 months of when A.D.’s claim
accrued. Additionally, at the time this Incident occurred, A.D. was only 15 years old. Therefore, although
A.D. has 12 months from the day she turns 18 to provide notice of her claims, she is providing notice
now. 2 Please note that a criminal investigation is currently pending and this is based upon the information
present available to claimant’s counsel.

        Specifically, at all times relevant to A.D’s claim, she was 15 years old and a 9th grade student at
Clarke Central High School. A letter from Clarke County School District provides an incident date of

1
    A.D.’s identity is redacted due to the fact that she was a victim of childhood sexual abuse.
2
    O.C.G.A. § 36-11-1; Coweta Cnty. v. Cooper, 318 Ga. App. 41 (2012).


                                                     4
                                          (404) 961-7655 Telephone/Fax
                                            www.pennlawgroup.com
      Case 3:22-cv-00047-CDL              Document 1-1          Filed 04/29/22        Page 29 of 62

Clarke County School District Ante Litem Notice
Page 4 of 5
August 24, 2018

August 28, 2017 based on an “inappropriate sexual relationship with a student” between teacher Maurice
Bouchard and A.D. Specifically, A.D. was the victim of a systematic and targeted grooming by Mr.
Bouchard resulting in physical, emotional and mental sexual harassment and abuse. This relationship
includes inappropriate text messages, touching, exposing A.D. to pornography and other sexual content
such as Bondage, Domination, Submission and Masochism (“BDSM”) and mental and physical
manipulation and control. Additionally, Mr. Bouchard attempted to commit statutory rape of A.D. and the
two had planned to meet to engage in sexual intercourse the weekend after this activity was reported.

        Furthermore, Mr. Bouchard admitted to A.D. that he had raped 12 and 13-year old girls in the
past and became a high school teacher for the express purpose of having affairs with students. Rather than
do anything about this, the school actually expressly permitted Mr. Bouchard to spend more and more
time alone with A.D. by letting him tutor her as part of a 504 accommodation plan and an Individualized
Education Plan (“IEP”). This individualized attention to A.D. allowed Mr. Bouchard to prey upon her and
engage in a practice called “grooming” where he conditioned A.D. to trust him. Mr. Bouchard then
exploited this relationship by engaging in touching, sexual comments and sexual fantasies and dominating
A.D. by taking actions such as locking her in a classroom closet, taking her phone and encouraging her to
become bulimic and throw up after each meal. This behavior was conducted openly at school, providing
Clarke Central High School with knowledge of this unlawful conduct.

        The discovery of this unlawful behavior resulted in Mr. Bouchard’s resignation on or about
August 28, 2017. Despite Mr. Bouchard’s resignation, this conduct is ongoing. For example, in
November 2017, Mr. Bouchard sent A.D. threatening messages telling her before Thanksgiving of 2017
that he wanted to “kidnap her and bring her into his home to have BDSM intercourse with her.” A.D.’s
mom immediately contacted the police and filed a police report. Furthermore, Clarke Central’s conduct is
ongoing since it refused to provide A.D. with a 504 accommodation plan after these traumatic events, but
instead suggested she transfer to a different school. A.D. began at a new school in the Fall of 2017.

         While our investigation into the facts surrounding this incident continues, and without waiving
the right to assert additional or different bases for A.D.’s claims at a later date, A.D.’s claims against
Clarke County School District include, but are not limited to Childhood Sexual Abuse under the Hidden
Predator Act (O.C.G.A. § 9-3-33.1), respondeat superior, negligent hiring and training, negligent
infliction of emotional distress and federal claims under Title IX. The School District’s basis for liability
is not only based upon its status as the employer of Mr. Bouchard but also in its aiding Mr. Bouchard’s
harassment by the authority granted to him by school district over A.D. as a student.


         In the event that Clarke County School District does not satisfactorily resolve these claims, A.D.
intends to initiate a suit for the claims stated above for A.D.’s injuries including pain and suffering,
punitive damages, attorney’s fees, and any and all other damages as permitted under applicable Georgia
and federal law. Due to these unlawful acts, A.D. suffers from emotional distress manifesting itself in an
eating disorder, mental health complications, medical bills and pain and suffering. A.D. hereby claims
losses in the amount of five million dollars ($5,000,000.00). Specifically, to date A.D.’s medical expenses
total $11,447.57. In the event the foregoing entities and their officers, agents, and/or employees do not
satisfactorily resolve these claims, A.D. intends to initiate a suit for any and all damages permitted under
Georgia and federal law including punitive damages and attorney’s fees. If these claims cannot be settled
without litigation, this amount shall not be binding on the claimant and recovery of a greater sum is
permitted. Maryon v. City of Atlanta, 149 Ga. 35 (1919).




                                                   4
                                        (404) 961-7655 Telephone/Fax
                                          www.pennlawgroup.com
      Case 3:22-cv-00047-CDL             Document 1-1         Filed 04/29/22       Page 30 of 62

Clarke County School District Ante Litem Notice
Page 5 of 5
August 24, 2018

         If you contend this letter does not provide you with sufficient notice of claim pursuant to
O.C.G.A. § 36-11-1 et seq., or comply with said statute, please advise us within 10 days of receipt.
Otherwise, we will assume that we have provided sufficient information to investigate and evaluate the
claim in compliance with the statutory notice requirements. Please also accept this as a request for all
insurance policies, indemnification agreements, or other such information that could potentially apply to
these claims.

       Should you have any questions, please do not hesitate to contact me directly. Thank you in
advance for your cooperation.

                                                         Very truly yours,

                                                         PENN LAW


                                                    064/ 4fA"
                                                         Darren W. Penn
DWP/asc




                                       (404) 961-7655 Telephone/Fax
                                         www.pennlawgroup.com
                                                                                                                mosaic:Lou venveryr         oervice type
Case 3:22-cv-00047-CDL                Document 1-1                                   Filed 04/29/22                  Page 31 of 62
                                                                                                                 (Extra Fee)        Yes I        CERTIFIED
                                                                                                                Article Number

                                                                                                                       9414 7118 9956 0153 1305 64




                                                           COMPLETE TH S SECTION ON DELIVERY
                                                                                              q. .1111
                                                                                            113k                   5 16 111
                                                                                                                 301

                A. Sig atu[e: (0Addryee                     01:Igapt)
                                                             .        B. Received By: (Pie se Print Clearly)                          Cy21.27p of Delive%   /8

                                              1110. ../W1                 /           ,Thiavie                          (
                                                                                                   Article Addressed To:
                D. Addressees Address (1fDifferent From Address Used by Wed

                                                                                                          Diane Bell, Commissioner
                Secondary Address / Suite / Apt. / Floor          (Please Print Clearly)
                                                                                                          District 7, Athens-Clarke County, .GA -
                                                                                                          130 Duncan Springs Road
                Delivery Address
                                                                                                          Athens GA 30606-4614
                                                                                                                                                                  I
                City                                       tale           ZIP + 4 Code                                                                           11.4


                  T                                                                                                 Restricted Delivery?

                                                                                                                     (Extra Fee)    D Yes
                                                                                                                                                 Service Type

                                                                                                                                                     CERTIFIED
                                                                                                                     Article Number

                                                                                                                               9414. 7112 11226 0145 221.4 26




                                                                                                       HMI
                                                                                        9414 74-18_9956 0145 3814 86
                                                 COMPLETE THIS SECTION ON DEL VERY
                       A. Signature: (0Addressee or ElAgen0 B Received By: (Please Print Clearly)                                          C. Date of Delivery

                       X                                    CTh
                                                                                                         Article Addressed To:
                       D. Addres4,27-
                                   's A dress (111)fferenl From Address Used by ends;

                                                                                                                    George Davis, District One •
                       Secondary Address I Suite I Apt. I Floor               (Please Print Clearly)
                                                                                                                    Clarke County SD BOE
                                                                                                                    210 Deertree Drive
                       Delivery Address
                                                                                                                    Athens GA 30605-4576
                       City                                       State             ZIP + 4 Code

                  L.                                                                            '01.9£
                                                                                                                    Restricted Delivery?         Service Type


                                                  ruhisolumponfiquonivild immtryphiNikves                           Article Number
                                                                                                                                                     CERTIFIED


                                                                                                                                 9414 7118 9956 0146 2102 67




                                                                                     II   I      II        1111 1111111
                                                                                          9414 7 18 9956 0 45 2102 67
                                                                    COMPLETE/HIS...SECTION ON DELIVERY c.
                                     re: (04d esse or 0Agent)               B. Received By: (Please Print Clearly) C. Date of Delivery
                                                                                                                                             g    Z.-87 2-e)
                                                                                                         Article Addressed To:
                       D. Addressee's Address (1 Different Frets Address Used by Sender)
                                                                                                                     John A. Knox, Dislrict Eight
                       Secondary Address Suite / Apr. / Floor                 (Please Print Clearly)
                                                                                                                     Clarke County SD BOE
                                                                                                                     225 Gentry Drive
                       Delivery Address
                                                                                                                     Athens GA 30605-3923

                                                                                               _—
                       City                                       Slate             ZIP + 4 Code
Case 3:22-cv-00047-CDL          Document 1-1                            Filed 04/29/22                     Page    32 of
                                                                                                           (Extra Fee) 0 62
                                                                                                                         Yes              CERTIFIED
                                                                                                           Article Number




                                                              COMPLETE THIS SECTION ON.DELIVERY`-'                 •
                   A. Signs            (DAddres                   Cat) B. Received By: (Please Print Clearly) C. Dater Deltve

                   X      CZ)         WPM)                                                                                                imV      ti t
                                           d-                                               Article Addressed To:
                   D. Addressee's Adass (IfDittenint Prom Address Used by ende)


                                                                  (Please Print Clearly)
                                                                                                      Mariah Parker, Commissioner
                   Secondary Address / Suite I Apt. / Floor
                                                                                                      District 2, Athens-Clarke County, GA,,, _
                                                                                                      170 Cone Drive
                   Delivery Address
                                                                                                      Athens GA 30601-3326
                   City                                   Stale         ZIP 4 4 Code



                                                                                                             e.e.tricted Delivery?     Service Type

                                                                                                               x tra Fee)        Yes      CERTIFIED
                                                                                                           Article Number

                                                                                                                     9414 7118 9956 0153 7010 92




                   A. Sign                   9c r,ssee
                                                               .            9141.,!11.!.1
                                                       CO;7PLETE THIS SECT ON ON DELIVERY.
                                                                                          1,011ill
                                                                                      1 11171
                                                                                      _

                                                                 B. R ceived By: (Please Print Clearly) C. Date o Delivery


                   D. Addressee's Address (I Different From Address Used by Sender)
                                                                                           Article Addressed To:

                                                                                                      Sharyn Dickerson, Commissioner
                   Secondary Address / Suite I Apt. / Floor       (Please Print Clearly)
                                                                                                      District 1, Athens-Clarke County, GA
                                                                                                      317 Blue Heron Drive
                   Delivery Address
                                                                                                      Athens GA 30605-4970

                   City                                  State          ZIP + 0 code


                                                                               ni7 into    tux] -I. Sri
                                                                                                           Restricted Delivery? '      Service Type

                                                                                                            (Extra Fee) 0        Yes      CERTIFIED
                                                                                                           Article Number




                                                                                              111111111
                                                              COMPLE FE THIS SECTION ON OtL VERY
                   A. Signature:                  essee or DAgent)                13?riceiXts             lease Print Clearly)



                   D. Addressee's Address (inninietentnom Address Used by sense.)          Article Addressed To:


                   secondary Address / Salta / Apt. / Floor       (Please Print Clearly)       Nancy Denson
                                                                                               Mayor, Unified Government Of Athens-Clar
                   Delivery Address                                                            301 College Ave., Suite 300
                                                                                               Athens GA 30601-2715
                   city                                  State
                                                                                                              rteSLI iuteu venveryr          service type
Case 3:22-cv-00047-CDL           Document 1-1                               Filed 04/29/22                    Page 33 of 62
                                                                                                               (Extra Fee) El Yes                  CERTIFIED
                                                                                                              Article Number


                                                                                                                      9414 7118 9956 0153 1196 44




                   A. Sign
                                                    COMPLELE TylIS sir7C
                                        (0Addressee or OAgent
                                                                                  DEL VERY
                                                                                     B. R     A
                                                                   ved By: Please Print C eery)
                                                                                                iiu  ION'Oni
                                                                                                                                      C. Date o Delive

                                                                                                                                                e7
                                                                                               Article Addr     sad To:
                   D. Address e's4crciress fa'Different From Address used by sender)


                    Secondary Address / Suite / Apt. / Floor         (Please Print Clearly)          Andy Herod, Commissioner
                                                                                                     District 8 Athens-Clarke County, GA
                   Delivery Address                                                                  315 Brookwood Drive
                                                                                                     Athens GA 30605-3807
                   City                                     Slate          ZIP+4Code



                                                                                                              Restricted Delivery?           Service Type

                                                                                                              (Extra Fee) ti     Yes                 RTIFIED
                                                                                                              Article Number


                                                                                                                       9414 7118 9956 0153 1377:23




                                                               COMPLETE THIS:S C- 1OHON DEL VERY
                                                                                                     111111
                  A. Signs

                               a,e     (0Addrn                  • A • en             B.
                                                                          eceived By: (Please Print Clearly)
                                                                            t
                  D. Addressee's Address (1 DifferentFine Address Used by Send)               Article Addressed To:
                                                                                                                                      C. Date of Delivery




                   Secondary Address / Suite / Apt. / Floor         (Please Print Clearly)           Jerry NeSmith, Commisioner
                                                                                                     District 6 Athens-Clarke County, GA
                  Delivery Address                                                                   210 Deerhill Drive
                                                                                                     Bogart GA 30622-1741
                  city                                   State            ZIP + 4 Code



                                                                                                                                           Service Type

                                                                                                                                                CERTIFIED
                                                                                                          Article Number




                                                                   -
                                                                     iii
                                                      94 4 7 8 9956 0145 2499 60
                                                                            -
                                            COMPLETE THIS SECTION ON ,DELIVERY,
                  A. Signature: (DAddressee or 47 Agent)    R elved By: (Please Print Clear, ca.                                             of D'as

                  x                                                                            ( vs- .N'14/,                                ( 2-
                                                                                              Article Addressed Tot
                  D. Addressee's Address (1,117relant From Address Used by send)

                                                                                                Lynn Duke, Exed. Dir. Human Resources
                  Secondary Address / Suite / Apt. / Moor           (Please Print Clearly)
                                                                                                Clarke.:Qounty-School District
                                                                                                440 Dearing -Extension Bldg 1
                  Delivery Address
                                                                                                AtbKii,GA 30606-3579
                  City                                   Stale            zrn4.4code
                                                                                                                     RUSHIt:IOU velivery r          service type
Case 3:22-cv-00047-CDL           Document 1-1                                 Filed 04/29/22                       Page 34 of 62
                                                                                                                      (Extra Fee) 0       Yes            CERTIFIEI
                                                                                                                     Article Number
                                                                                                                               9414 7118 9956 0145 3641 99




                                                                              III                                      36191111
                                                                   COMPLETE THIS SECTION ON DELIVERY
                       A. S           re (OA         res      O ctal'         e6 ive By: (Pt                                                 C. Date of Delivery




                                                                          I
                                                                              ,
                                                                                                         Mole
                                                                                  sed by ender)

                                                                                                                      Charles orthy, District 6
                       Se‘ondary Address / Suite / Apt. / Floor         (Please Print Clearly)
                                                                                                                      Clarke ounty SD BIDE
                                                                                                                      120 Melbourne Drive -
                       Delivery Address
                                                                                                                      Athens GA 30606-1380

                       city                                   State            ZIP + 4 code




                                                                                                                   Resfrjcted Delivery?

                                                                                                                    (Extra Fee) ❑Yes

                                                                                                                   Article Number




                   A. Signe re: (               dressee ' Agent)
                                                                        iii
                                                        COMPLETE THIS SECTION ON DELIVERY
                                                                 B. Reser) By: (P ease Print Clearly)
                                                                                                           11 tll
                                                                                                         11110
                                                                                                                                          C. Date of Deily

                                                                                                   IL % •       0-kr-It                      (3. 0:1 4g
                   D. Addressee's Address (ttDeferent From Address Used by ender)                  Article Addressed To:



                   Secondary Address I Suite I Apt. / Floor
                                                                                                          Kelly Girtz, Commissioner
                                                                                                          District 9, Athens-Clarke County, GA
                                                                   (Please Print Clearly)



                   Delivery Address
                                                                                                          562 Pulaski Street
                                          —
                                                                                                          Athens GA 30601-2347
                   City                                       re          ZIP + 4 Code


                                                                                                                                                        -      —
                                                                                                                  astricted Delivery?             Service Type

                                                                                                                    (Extra Fee) 0     Yes            CERTIFIED
                                                                                                                   Article Number
                                                                                                                          9414 7118 9956 0145 3703 67




                                                                                                 I II II
                                                                                           1111111111
                                                                              9414 7 18 9956 0145 3703 67

                                ture: (DAddres
                                                   COMPLETE THIS SECT ON ON DELIVERY
                                         K)ki..see or.\)\\
                                                       pAgent) Received By: (Please Print Cleadt)

                                                                                                  1C4C
                                                                                                                                          -
                                                                                                                                          C. at   7,7 CV
                                                                                                                                                     -


                   X                                                                                           •.s% VOPY r+
                   D. Addressee's Address (If Dineen,Fr0a; merers used                             Article Addressed To:
                                                                                        der)

                                                                                                     -      Demond Means, Superintendent
                   Secondary Address I Suite / Apt. / Floor        (Please Print Clearly)                   Clarke County SD
                                                                                                            440 Dearing Extension Bldg 1
                   Delivery Address                                                                         Athens GA 30606-3579

                   City                                    State          ZIP + 4 Code

                 L                                                                402 'Die        WIad Sd
                                                                                                                  =tea uenveryr              service type
Case 3:22-cv-00047-CDL                Document 1-1                              Filed 04/29/22                 Page 35 of 62
                                                                                                              'Extra Fee)    0 Yes               CERTIFIED
                                                                                                               Article Number
                                                                                                                        94147118 9956 0145 3034 88




                                                                             II19I!1171I!!1!!11!ills!81J11
                                                                                                         1
                                                                    COMPLETE.THiSeSECTION ON DELIVERY'
                                    u       (0        res           r DAgent) B. Received By: (Please Print Clearly) C. Date of Delivery


                                                                                                  Article Addressed To:
                       D. Addressee's Address (110illarent From Address Deafly ender)
                                                                                                              Linda Davis, District Three
                                                                                                              Clarke County SD BOE
                                   SidreSS I Suite / Apt. / Floor       (Please Print Clearly)
                                                                                                              167 Peach Street
                                                                                                              Athens GA 30606-2842
                       Delivery Addrer



                                                                Slate         ZIP + 4 Code



                                                                                                              Restricted Delivery?           Service Type lR

                                                                                                                                   Yes          CERTIFIED




                                                                                         IIIIIIII11IIIIIIIIIIII
                                                                                  9414 7 8 9956 0145 300 04
                                                                    'COMPLETE THIS SECT ON ON DELIVERY
                       A. Signet                  ddre see                   B. Re eived art-         4 (
                                                                                              P 'nt Clearly)                         C. Date o Delive

                                                                                                     2 t J                               0      .2;')
                                                                                                  Article Addressed To:
                       D. Addressee's Address: (11Dilferen              Ad   se Used by ender)


                                                                                                                Sarah Ellis, District Five
                       Secondary Address / Suite / Apt. (Floor          (Please Print Clearly)
                                                                                                                Clarke County SD BOE
                                                                                                                321 Dubose Avenue
                       Delivery Address
                                                                                                                Athens GA 30601-1916

                       City                                     State         ZIP t 4 Code




                                                                                                          Restricted Delivery?        Service Type

                                                                                                          (Extra Fee) 0      Y85             CERTIFIED
                                                                                                          Article Number




                                                                                        I III II IIII11
                                                                             94147118-9956 0145 2413 77
                                         COMPLETE THISSECTION ON DELIVERY -
                A. Sizature: (DAddressee or DAgent) B. Received By: (Please Print Clearly) C.                                            of Delive

                X         _.10)11                                                                Cc 'Li
                                                                                             Article Addressed To:
                                                                                                                       A-                27
                D. Addressee's Address (11DaTerent Rom Address Used by ends,)

                                                                                                   Julie Coile, Human Resources Spec.
                Secondary Address / Suite / Apt. / Floor        (Please Print Clearly)
                                                                                                   Clarke County School District
                                                                                                   440 Dearing Extension Bldg 1
                Delivery Address
                                                                                                   Athens GA 30606-3579
                City                                    Stale           ZIP + 4 code
                          ^=sv, - • ay.!:                                                                      Restricted Delivery?         Service Type
Case 3:22-cv-00047-CDL             Document 1-1                           Filed 04/29/22                       Page 36 of 62
                                                                                                                     trwlete-441:11Yes             CERTIFIED
                                                              i.,sekir




                                                                         11 1111111111111110
                                                                           9414 7112 9956 0145 3715 93

                                                              COMPLETE THIS SECTION ON;:DELIVERY
                                                                      B. Repeived B (PleaseffInt Clearly)                             C. Date of Delive
                                                                                                     etc,                                  l a-1
                                                                                                Article Adde         d To:
                   D. Addressees A ress iwohr.rent Fingi Address Used by Sealed
                                                                                                              Marie--Yurran Principal
                   Secondary Address I Suite I Apt. 1 Floor       (Please Print Clearly).                     Clarke Central High School
                                                                                                              350 South Witedge Avenue
                   Delivery Address                                                                           Athens'dA -3060,1048

                   City                                             „    zip 1: 4 Cede
                                                                                         •:•



                                                                                                               Restricted Delivery?         Service Type

                                                                                                                (Extra,FeeP,                       CERTIFIED
                                                                                                       •
                                                                                                               Article Number
                                                                                                                         6414 711.8 9956 0145 2404 62




                                                                         IIIiii111111111111
                                                                               9414 7118 9956 0145 2404 62

                                                              COMPLETE THIS SECTION ON.DELIVERY
                                                                      B. Received By: (Please P Clearly),                             C. Date of



                  D. Addressee's Address Of Ddlerent From Address Used by Sender)               Article Addressed To:

                                                                                                             Ovita Thronton- District Nine
                   Secondary Address 1 Suite Apt / Floor          'Pleeee Print Clearly)                     Clarke County SD BCE
                                                                                                             P.O. Box 82313
                  Del€very Address                                                                           Athens GA 30608-2313

                  City                                   Slate           ZIP    Code



                                                                                                              Restricted Delivery?          Service Type

                                                                                                               (Extra Fee) ❑     Yes               CERTIFIED




                  A.
                                                   COMPLETE THIS. SECTION ON DELIVERY ' .
                               ture: (ClAdriressee or ClAgent) il' :,44%eceived By: (Please Print Clearly)
                                                                                                                iii im
                                                                                                           C. Date of Del very
                                                                                 'V
                                                                                            "   ( CA       S ‘,/Ar
                                                                                                Article Addressed o:
                  0. Addressees Address (IIDifferent From Address Used by Sender)


                   Secondary Address / Suite / Apt. Floor —       (Please Print Cleary)
                                                                                                           Allison Wright, Commissioner
                                                                                                           District 4, Athens-Clarke County, GA
                   Delivery Address
                                                                                                           430 Hampton Court
                                                                                                           Athens GA 30605-1516
                   City                                  Stale           ZIP   4 Code
                      Case 3:22-cv-00047-CDL                    Document 1-1             Filed 04/29/22            Page 37 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058850257                                                                                                                       -?‘




                                                       Delivered
                                              Monday 8/27/2018 at 8:53 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                                   Clarke County SD BOE
                                                                    Jared Ruiz Bybee, District 4
                                                                        310 Millecige Hts,
                                                                      ATHENS, GA US 30605
                                                                          706 613-3075




            8/27/2018 - Monday

            8:53 am

            Delivered

            left at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History

            8/24/2018 - Friday

            1:05 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=7730588502571120180824&cntry code=us&language=en&clienttype=fhist         1/2
                      Case 3:22-cv-00047-CDL                    Document 1-1              Filed 04/29/22           Page 38 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058809606 9k/a




                                                      Delivered
                                             Monday 8/27/2018 at 10:54 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Nortside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                            District 2, Clarke County SD BOE
                                                                         Vernon Payne
                                                                        200 Payne Drive
                                                                      ATHENS, GA US 30601
                                                                         706 513-3075




            8/27/2018 Monday

            10:54 am

            Delivered

            Left at front door_ Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History \/

            8/24/2018 - Friday

            1:03 pm

            Shipment information sent to FedEx




https://www.feclex.com/apps/fedextracknaction=track&tracknumbers=7730588096061120180824&entry code=us&languager--en&clieratype=fhist   1/2
                        Case 3:22-cv-00047-CDL           Document 1-1              Filed 04/29/22           Page 39 of 62
8/30/2018                                              Track your package or shipment with FedEx Tracking




 773058774365




                                                             Delivered
                                           Monday 8/27/2018 at 8:32 am



                                                                DELIVERED

                                                       Signed for by: L.GLENN




                                                          GET STATUS UPDATES
                                                       OBTAIN PROOF OF DELIVERY

                                                                       FROM

                                                                PENN LAW LLC
                                                                      Jill Cade
                                                                Building 1 Suite 100
                                                              4200 Northside Pkwy NW
                                                               ATLANTA, GA US 30327
                                                                   404 961-7655
                                                                        TO

                                                         Clarke Central High School
                                                               Marie Yuran, Principal
                                                             350 South Miledge Avenue
                                                              ATHENS, GA US 30605
                                                                  706 613-3075




            8/27/2018 - Monday

            8:32 am

            Delivered

            ATHENS, GA

                                                               Expand History ,.

            8/24/2018.- Friday

            1:00 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/feciextrack/?action=track&tracknumbers=7730587743651120180824&cntry_code=us&language=en&clienttype=fhist   2/3
                         Case 3:22-cv-00047-CDL         Document 1-1               Filed 04/29/22          Page 40 of 62
8/30/2018                                             Track your package or shipment with FedEx Tracking




                                                        TRACK ANOTHER SHIPMENT



 773058733939 (k 1




                                                  Scheduled delivery:
                                                      Pending



                                                               IN TRANSIT

                                                            ATLANTA, GA

                                                         GET STATUS UPDATES

                                                                      FROM

                                                               PENN LAW LLC
                                                                     Jill Cade
                                                               Building 1 Suite 100
                                                             4200 Northside Pkwy NW
                                                              ATLANTA, GA US 30327
                                                                  404 961-7655
                                                                       TO

                                                       Clarke County School District
                                                          Demand Means, Superintendent
                                                             440-1 Dearing Extension
                                                             ATLANTA, GA US 30306
                                                                  706 613-3075

                                                          MANAGE DELIVERY 'N.'




            8/27/2018 Monday

            8:31 pm

            In transit

            ATLANTA, GA

                                                              Expand History \,/

            8/2412018 - Friday

            12:58 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=7730587339391120180824&entry_code=us&language=en&dienttyperthist   1/2
                      Case 3:22-cv-00047-CDL                    Document 1-1             Filed 04/29/22            Page 41 of 62
8/30/2418                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058222272 (k




                                                       Delivered
                                              Monday 8/27/2018 at 9:09 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY


                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                            District 8- Athens Clarke County
                                                                    Andy Herod, Commissioner
                                                                       315 Brookwood Drive
                                                                      ATHENS, GA US 30605
                                                                          706 613-3075




            8/27/2018 - Monday

            9:09 am

            Delivered

            Left at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History

            8/24/2018 - Friday

            12:25 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers.77305822227211201801324&entry code=us&language=en&clienttype=thist   1/2
                  Case 3:22-cv-00047-CDL                  Document 1-1            Filed 04/29/22             Page 42 of 62
8/30/2018                                               Track your package or shipment with FedEx Tracking




                                                          TRACK ANOTHER SHIPMENT



  773058200944 q? 1




                                                   Delivered
                                          Monday 8/27/2018 at 11:13 am



                                                                 DELIVERED

                                                        Signature not required

                                                           GET STATUS UPDATES
                                                        OBTAIN PROOF OF DELIVERY


                                                                        FROM

                                                                 PENN LAW LLC
                                                                        Jill Cade
                                                                  Building 1 Suite 100
                                                               4200 Northside Pkwy NW
                                                                ATLANTA, GA US 30327
                                                                     404 961-7655
                                                                         TO

                                                       District 6- Athens Clarke County
                                                             Jerry Nesmith, Commissioner
                                                                   210 Deerhill Drive
                                                                 BOGART, GA US 30622
                                                                     706 613-3075




                              Email (HTML)




                              LANGUAGE.
                               Frolligh
 https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=77305820094411201808248icntry_code=us&language=en&clienttyper fhist   1/3
                      Case 3:22-cv-00047-CDL             Document 1-1              Filed 04/29/22           Page 43 of 62
8/30/2018                                              Track your package or shipment with FedEx Tracking




  773058166452 gk>k




                                                            Delivered
                                           Monday 8/27/2018 at 8:59 am



                                                                DELIVERED

                                                      Signed for by: L.WRIGHT




                                                          GET STATUS UPDATES
                                                       OBTAIN PROOF OF DELIVERY

                                                                       FROM

                                                                PENN LAW LLC
                                                                      Jill Cade
                                                                Building 1 Suite 100
                                                              4200 Northside Pkwy NW
                                                               ATLANTA, GA US 30327
                                                                   404961-7655
                                                                        TO

                                                      District 4- Athens-Clarke County
                                                            Allison Wright, Commissioner
                                                                 430 Hampton Court
                                                                ATHENS, GA US 30605
                                                                    706 613-3075




            8/27/2018 - Monday

            8:59 am

            Delivered

            ATHENS, GA

                                                               Expand History \/

            8/2412018 Friday

            12:22 pm

            Shipment information sent to FedEx




 https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=7730581664521120180824&cntry_codntus&language=en&clienttype=fhist   2/3
                        Case 3:22-cv-00047-CDL                  Document 1-1              Filed 04/29/22           Page 44 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058125187




                                                       Delivered
                                              Monday 8/27/2018 at 9:47 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                            District 2- Athens Clarke County
                                                                   Mariah Parker Commissioner
                                                                         170 Cone Drive
                                                                     ATHENS, GA US 30601
                                                                          706 613-3075




            8/27/2.018 - Monday

            9:47 am

            Delivered

            Left at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History 'V

            8/24/2018 - Friday

            12:19 pm

            Shipment information sent to FedEx




https://www.fedex.com/appeedextrack/?action=track&tracknumbers=773058125187120180824&cntry code=us&language=en&clienttype.thist    1/2
                       Case 3:22-cv-00047-CDL                   Document 1-1             Filed 04/29/22            Page 45 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



 773056104719 Cl?"41




                                                      Delivered
                                             Monday 8/27/2018 at 10:30 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                             District 1, Athens-Clarke County
                                                                 Sharyn Dickerson, Commissioner
                                                                      317 Blue Heron Drive
                                                                     ATHENS, GA US 30605
                                                                          706 613-3075




            8/27/2018 Monday

            10:30 am

            Delivered

            Left at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History

            8/24/2018 - Friday

            12:18 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=773058104719112018082484cntry_code=us&language=en&clienttype=fhst   1/2
                        Case 3:22-cv-00047-CDL                  Document 1-1              Filed 04/29/22           Page 46 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058083029




                                                                   Delivered
                                              Monday 8/27/2018 at 9:38 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                               District 9, Athens-Clarke Co
                                                                     Kelly Gritz, Commissioner
                                                                         562 Pulaski Street
                                                                      ATHENS, GA US 30601
                                                                           706 613-3075




            8/27/2018 - Monday

            9:38 am

            Delivered

            Left at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History '

            8/24/2018 - Friday

            12:17 pm

            Shipment information sent to FedEx




https://www.fedex.com/appsgedextrack/?action=track&tracknumbers=77305808302911201808248<cntry_code=us&languager.en&clienttypeizfhist   1/2
                      Case 3:22-cv-00047-CDL                    Document 1-1              Filed 04/29/22           Page 47 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773058006936




                                                                    Delivered
                                              Monday 8/27/2018 at 8:49 am



                                                                        DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Northside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                               District 5, Athens-Clarke Co.
                                                                    Jared Bailey, Commissioner
                                                                        145 Marsha Court
                                                                      ATHENS, GA US 30606
                                                                          706 613-3075




            8/2.7/2018 - Monday

            8:49 am

            Delivered

            Left at front door. Package delivered to recipient address - release authorized

            Athens, GA

                                                                      Expend History 'V

            8/24/2018 - Friday

            12:11 pm

            Shipment information sent to FedEx




https://wwwfedex.com/appsfiedextracknaction.itrack&tracknumbers=773058006936[1201808248icntry_code=us&fanguage=en&clienttype=fhist   1/2
                      Case 3:22-cv-00047-CDL                   Document 1-1               Filed 04/29/22          Page 48 of 62
8/30/2018                                                    Track your package or shipment with FedEx Tracking




                                                               TRACK ANOTHER SHIPMENT



  773057980315 !CE




                                                                   Delivered
                                              Monday 8/27/2018 at 9:30 am



                                                                      DELIVERED

                                                              Signature not required

                                                                GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY


                                                                             FROM

                                                                      PENN LAW LLC
                                                                            Jill Cade
                                                                      Building 1 Suite 100
                                                                    4200 Northside Pkwy NW
                                                                     ATLANTA, GA US 30327
                                                                         404961-7655
                                                                               TO

                                                               District 3, Athens-Clarke Co
                                                                   Melissa Link, Commissioner
                                                                    148 Hiawassee Avenue
                                                                     ATHENS, GA US 30601
                                                                          706 613-3075




            8/27/2018- Monday

            9:30 am

            Delivered

            Left at front door. Package delivered to   elpient address release authorized

            ATHENS, GA

                                                                     Expand History Na,

            8/24/2018 - Friday

            12:10 pm

            Shipment information sent to FedEx




 https://www.fedex.com/appsfiedextrack/?actioniatrack&tracknumbers=7730579803151120180824&cntry_codeaus&language=en&clienttype=fhist   1/2
                        Case 3:22-cv-00047-CDL                  Document 1-1                  Filed 04/29/22       Page 49 of 62
8/30/2018                                                     Track your package or shipment with FedEx Tracking




                                                                TRACK ANOTHER SHIPMENT



  773060631500




                                                                   Delivered
                                              Monday 8/27/2018 at 9:26 am



                                                                          DELIVERED

                                                              Signature not required

                                                                GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                                FROM

                                                                          PENN LAW LLC
                                                                                Jill Cade
                                                                          Building 1 Suite 100
                                                                        4200 Northside Pkwy NV/
                                                                         ATLANTA, GA US 30327
                                                                             404 961-7655
                                                                                  TO

                                                                   Athens-Clarke County
                                                                          Diane Bell, District 7
                                                                        130 Duncan Springs Road
                                                                         ATHENS, GA US 30606
                                                                             706 613-3075




            8/27/2018 Monday

            9:26 am

            Delivered

            Left at front door. Package delivered to recipient addres      el          rive(

            ATHENS, GA

                                                                         Expand History 88"

            8/24/2018 Friday

            2:45 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?actionetrack tracknumbers=7730606315001120180824&cntry_code=us&language=en&clienttype=fhist   1/2
                        Case 3:22-cv-00047-CDL           Document 1-1              Filed 04/29/22           Page 50 of 62
8/30/2018                                              Track your package or shipment with FedEx Tracking




  773057955792 %




                                                            Delivered
                                           Monday 8/27/2018 at 8:56 am



                                                                DELIVERED

                                                  Signed for by: J.HARRINGTON




                                                          GET STATUS UPDATES
                                                       OBTAIN PROOF OF DELIVERY


                                                                       FROM

                                                                PENN LAW LLC
                                                                      Jill Cade
                                                                Building 1 Suite 100
                                                              4200 Northside Pkwy NW
                                                               ATLANTA, GA US 30327
                                                                   404 961-7655
                                                                         TO

                                                  Unified Government of Athens-Clarke
                                                               Nancy Denson, Mayor
                                                                    Suite 300
                                                                301 College Avenue
                                                               ATHENS, GA US 30601
                                                                  706 613-3075




            8/27/2018 - Monday

            8:56 am

            Delivered

            ATHENS, GA

                                                               Expand History '/

            8/24/2018 - Friday

            12:08 pm

            Shipment information sent to FedEx




https://wwwfedex.com/apps/fedextrack/?action=track&tracknumbers---7730579557921120180824&cntry_code=us&language=en&clienttype=fhist   2/3
                      Case 3:22-cv-00047-CDL             Document 1-1                Filed 04/29/22         Page 51 of 62
8/30/2018                                              Track your package or shipment with FedEx Tracking




  77305934 I 'I 19




                                                             Deliverec
                                         Monday 8/27/2018 at 9:27 am



                                                                DELIVERED

                                                     Signed for by: D.COLBERT




                                                          GET STATUS UPDATES
                                                       OBTAIN PROOF OF DELIVERY


                                                                       FROM

                                                                PENN LAW LLC
                                                                      Jill Cade
                                                                Building 1 Suite 100
                                                              4200 Northside Pkwy NW
                                                               ATLANTA, GA US 30327
                                                                   404 961-7655
                                                                         TO

                                                        Clarke County School District
                                                          Julie Guile, Human Resource Spec.
                                                                440-1 Dearing Extension
                                                                 ATHENS, GA US 30606
                                                                     706 613-7605




            8/27/2018 - Monday

            9:27 am

            Delivered

            ATHENS, GA

                                                               Expand History \,./

            8/24/2018 - Friday

            1:33 pm

            Shipment nforma on sent to FedEx




      OuR COMPANY

 https://www.fedex.com/appsfiedextrack/?actionetrack&tracknumbers=7730593411191120180824&cntry_code=us&language=en&clienttype=fhist   2/3
                      Case 3:22-cv-00047-CDL               Document 1-1              Filed 04/29/22           Page 52 of 62
8/30/2018                                                Track your package or shipment with FedEx Tracking




     009308646




                                                              Delivered
                                           Monday 8/27/2018 at 9:27 am



                                                                  DELIVERED

                                                       Signed for by: D.COLBERT




                                                            GET STATUS UPDATES
                                                        OBTAIN PROOF OF DELIVERY


                                                                         FROM

                                                                  PENN LAW LLC
                                                                        Al Cade
                                                                  Building 1 Suite 100
                                                                4200 Northside Pkwy NW
                                                                 ATLANTA, GA US 30327
                                                                     404 961-7655
                                                                           TO

                                                              Clarke County SD BOE
                                                                Ovita Thornton, District 9
                                                                     P.O. Box 82313
                                                                 ATHENS, GA US 30608
                                                                      706 613-3075




            8/27/2018 Monday

            9:27 am

            Delivered

            ATHENS, GA

                                                                 Expand History \/

            8/24/2018- Friday

            1:31 pm

            Shipment information sent to FedEx




      OUR COMPANY

 https://www.fedex.com/appsfiedextrack/?action-etrack&tracknumbers=77305930864611201808248,cntry_code=us&languager-ten&clienttype=fhist   2/3
                        Case 3:22-cv-00047-CDL           Document 1-1              Filed 04/29/22            Page 53 of 62
8/30/2018                                               Track your package or shipment with FedEx Tracking




  773069283660




                                                             Delivered
                                           Monday 8/27/2018 at 9:27 am



                                                                DELIVERED

                                                     Signed for by: D.COLBERT




                                                          GET STATUS UPDATES
                                                       OBTAIN PROOF OF DELIVERY

                                                                       FROM

                                                                PENN LAW LLC
                                                                        Jill Cade
                                                                 Building 1 Suite 100
                                                              4200 Northside Pkwy NW
                                                               ATLANTA, GA US 30327
                                                                   404 961-7655
                                                                         TO

                                                        Clarke County School District
                                                           Lynn Duke, Exec. Dir. HR & Info.
                                                              440-1 Dearing Extension
                                                               ATHENS, GA US 30606
                                                                  706 613-3075




            8/2712018 - Monday

            9:27 am

            Delivered

            ATHENS, GA

                                                               Expand History N/

            8/24/2018 - Friday

            1:30 pm

            Shipment information sent to FedEx




https://www.fedex.corniapps/fedextrack/?action=track&tracknurnbers=7730592838601120180824&cntry code=us&language=en&clienttype=fhist   2/3
8/30/2018
                        Case 3:22-cv-00047-CDL                  Document 1-1              Filed 04/29/22
                                                              Track your package or shipment with FedEx Tracking
                                                                                                                   Page 54 of 62




                                                                TRACK ANOTHER SHIPMENT



  773059255774




                                                                    Delivered
                                             Monday 8/27/2018 at 10:16 am



                                                                       DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Nouthside Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                TO

                                                                   Clarke County SD BOE
                                                                      District 8- John A Knox
                                                                         225 Gentry Drive
                                                                      ATHENS, GA US 30605
                                                                           706 613-3075




            8/27/2018 Monday

            10:16 am

            Delivered

            Lett at front door. Package delivered to recipient address - release authorized

            ATHENS, GA

                                                                      Expand History \/

            8/24/2018 Friday

            1:28 pm

            Shipment information sent to FedEx




https://www.fedex.com/appsfiedextrack/?action=track&tracknumbers=7730592557741120180824&cntry code=us&tanguage=en&clienttype=fhist   1/2
                      Case 3:22-cv-00047-CDL                    Document 1-1                 Filed 04/29/22
                                                              Track your package or shipment with FedEx Tracking
                                                                                                                   Page 55 of 62
8/30/2018




                                                                TRACK ANOTHER SHIPMENT



  773059061590




                                                                    Delivered
                                              Monday 8/27/2018 at 9:56 am



                                                                        DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                               FROM

                                                                       PENN LAW LLC
                                                                             Jill Cade
                                                                       Building 1 Suite 100
                                                                     4200 Not/I-wide Pkwy NW
                                                                      ATLANTA, GA US 30327
                                                                          404 961-7655
                                                                                 TO
                                                                       Clarke County SD BOE
                                                                       115 St, George Place
                                                                      Carol Williams, District 7
                                                                      ATHENS, GA US 30606
                                                                           706 613-3075




            8/27/2018 - Monday

            9:56 am

            Delivered

            Left at front door. Package delivered to recipient address - release authoriz

            ATHENS, GA

                                                                      Expand History \ „,/

            8/24/2018 - Friday

            1:18 pm

            Shipment information sent to FedEx




https://www.fedex.com/appsfiedextrack/?action=track&tracknumbers=77305906159011201808246cntry_code=us&language=en&clienttype=fhist   1/2
                        Case 3:22-cv-00047-CDL                 Document 1-1                 Filed 04/29/22
                                                             Track your package or shipment with FedEx Tracking
                                                                                                                  Page 56 of 62
8/30/2018




                                                               TRACK ANOTHER SHIPMENT



  7'30590'32940 k\




                                                                   Delivered
                                              Monday 8/27/2018 at 9:26 am



                                                                       DELIVERED

                                                             Signature not required

                                                                GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY


                                                                              FROM

                                                                      PENN LAW LLC
                                                                            Jill Cade
                                                                      Building 1 Suite 100
                                                                    4200 Northside Pkwy NW
                                                                     ATLANTA, GA US 30327
                                                                         404 961-7655
                                                                               TO

                                                                  Clarke County SD BOE
                                                                      Sarah Ellis, District 5
                                                                      321 Dubose Avenue
                                                                     ATHENS, GA US 30601
                                                                         706 613-3075




            807/2018 Monday

            9:26 am

            Delivered

            Left at front door. Package delivered to recipient address- release authorized

            ATHENS, GA

                                                                     Expand History ‘‘,./

            8/24/2018 - Friday

            1:16 pm

            Shipment information sent to FedEx




https://www fedeiccom/apps/fedextrack/?action=track&tracknumbers=7730590329401120180824&cntry_codereus&language=en&clienttypealhist   1/2
8/30/2018
                        Case 3:22-cv-00047-CDL                     Document 1-1                 Filed 04/29/22
                                                                 Track your package or shipment with FedEx Tracking
                                                                                                                      Page 57 of 62




                                                                  TRACK ANOTHER SHIPMENT



  773059009092 cke




                                                                       Delivered
                                               Monday 8/27/2018 at 9:18 am



                                                                          DELIVERED

                                                                 Signature not required

                                                                   GET STATUS UPDATES
                                                                 OBTAIN PROOF OF DELIVERY


                                                                                  FROM

                                                                          PENN LAW LLC
                                                                                Jill Cade
                                                                          Building 1 Suite 100
                                                                        4200 Northside Pkwy NW
                                                                         ATLANTA, GA US 30327
                                                                             404 961-7655
                                                                                    TO

                                                                       Clarke County SD BOE
                                                                         Linda Davis, District 3
                                                                           167 Peach Street
                                                                         ATHENS, GA US 30606
                                                                             706 613-3075




            8/2712018- Monday

            9:18 am

            Delivered

            Left at front door. Package delivered to recipient    Id                     owed

            ATHENS, GA

                                                                         Expand History '1
                                                                                         4/,/

            8/24/2018 - Friday

            114 pm

            Shipment information sent to FedEx




hUps://www.fedex.com/appsfiedextrack/?action=track&trac numbers=7730590090921120180824&cntry_code=us&language=en&clienttype=fhist     1/2
8/30/2018
                        Case 3:22-cv-00047-CDL                  Document
                                                              Track your package1-1      Filed
                                                                                 or shipment with04/29/22
                                                                                                 FedEx Tracking Page 58 of 62




                                                                TRACK ANOTHER SHIPMENT



  773058966190                                                                                                                    0

                                                                   Delivered
                                             Monday 8/27/2018 at 10:22 am



                                                                          DELIVERED

                                                              Signature not required

                                                                 GET STATUS UPDATES
                                                             OBTAIN PROOF OF DELIVERY

                                                                                 FROM

                                                                          PENN LAW LLC
                                                                                Jill Cade
                                                                          Building 1 Suite 100
                                                                        4200 Northside Pkwy NW
                                                                         ATLANTA, GA US 30327
                                                                             404 961-7655
                                                                                   TO

                                                                   Clarke County SD BOE
                                                                          Greg Davis, District 1
                                                                           210 Deertree Drive
                                                                         ATHENS, GA US 30606
                                                                             706 613-3075




            8/27/2018 Monday

            10:22 am

            Delivered

            Left at front door. Package delivered to recipient idirEF             authorised

            ATHENS, GA

                                                                         Expand History N,./

            8/24/2018- Friday

            1:12 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=77305896619011201808248,cntry_code=us&language=en&clienttype=fhist   1/2
8/30/2018
                        Case 3:22-cv-00047-CDL          Document 1-1              Filed 04/29/22
                                                       Track your package or shipment with FedEx Tracking
                                                                                                            Page 59 of 62




  773058939076




                                                            Delivered
                                           Monday 8/27/2018 at 8:44 am



                                                                DELIVERED

                                                     Signed for by: M.HAMBY




                                                         GET STATUS UPDATES
                                                      OBTAIN PROOF OF DELIVERY


                                                                       FROM

                                                               PENN LAW LLC
                                                                     Jill Cade
                                                               Building 1 Suite 100
                                                             4200 Northside Pkwy NW
                                                              ATLANTA, GA US 30327
                                                                  404 961-7655
                                                                        TO

                                                     District 10-Athens Clarke County
                                                                   Mike Hamby
                                                             375 West Rutherford Street
                                                               ATHENS, GA US 30606
                                                                  706 613-3075




            8/27/2018 - Monday

            3:44 am

            Delivered

            ATHENS, GA

                                                              Expand History N✓

            0/24/2018 Friday

            1:10 pm

            Shipment information sent to FedEx




     OUR COMPANY

https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=77305893997611201808248cntry_code=us&language=en&clienttype=fhist   2/3
8/30/2018
                        Case 3:22-cv-00047-CDL               Document 1-1               Filed 04/29/22
                                                            Track your package or shipment with FedEx Tracking
                                                                                                                 Page 60 of 62




                                                             TRACK ANOTHER SHIPMENT



  773058891408




                                                                 Delivered
                                               Monday 8/27/2018 at 8:40 am



                                                                    DELIVERED

                                                            Signature not required

                                                              GET STATUS UPDATES
                                                           OBTAIN PROOF OF DELIVERY

                                                                           FROM

                                                                    PENN LAW LLC
                                                                          Jill Cade
                                                                    Building 1 Suite 100
                                                                  4200 Northside Pkwy NW
                                                                   ATLANTA, GA US 30327
                                                                       404 961-7655
                                                                             TO

                                                          Clarke County School District BOE
                                                                  Charles Worthy, District 6
                                                                    120 MELBOURNE DR
                                                                   ATHENS, GA US' 0606
                                                                       706 613-3075




            8/27/2018- Monday

            8:40 am

            Delivered

            Left at front door. Package delivered to ri

            ATHENS, GA

                                                                   Expand History '8/

            8/24/2018 - Friday

            1:07 pm

            Shipment information sent to FedEx




https://www.fedex.com/apps/fedextracknaction=track&tracknumbers=7730588914081120180824&cntry_code=us&language=en&clienttype=fhist   1/2
   Penn Law                   Case 3:22-cv-00047-CDL    Document 1-1     Filed 04/29/22     Page 61 of 62
   4200 Northside Parkway, NW                                                                                   $6.882
                                                                                 an) 3031                   US POSTAGE
   Building One, Suite 100
                                              it                                 25 :AUG
                                                                                                            FIRST-CLASS




                                                       III 11111111
                                                                                                             FROM 30327
   Atlanta, GA 30327                                                                                         AUG 24 2018
                                                                                 PM     L                      Sitami!jis
                                                                                                                       om




                                          9414 7118 9956 0153 1354 77
                                         RETURN RECEIPT REQUESTED



                                        Jared Bailey Commissioner
                                        District 5, Athens-Clarke County, GA
                                                                                           kw
                                        145 Marsha Court
                                        Athens GA 30606-2114
                                                                                                    38
                                                                                                R    USN
                                                                                                tU N Al L


                                                            3 2331 .8%




Darren W Penn                                                                                                  $6.672
                                                                                                            US POSTAGE
Penn Law LLC                                                                  „ef,4.3.rn                    FIRST-CLASS
4200 Northside Parkway, NW                                                                                   FROM 30327
                                                                                                               08/252018
Building One, Suite 100                                                                                       starrcs.
                                                                                                                enclacia
Atlanta GA 30327

                                       9414 7118 9956 0145 3017 29
                                      RETURN RECEIPT REQUESTED


                                      Carol. Williams, District Seven
                                      Clarke County SD BOE
                                      115 St. George Place
                                      Athens GA 30606-3942
                                                                                                                                               I1
                             Case 3:22-cv-00047-CDL             Document 1-1                         N 14•ETRO
                                                                                            Filed 04/29/22  Page 62 of 62
Penn Law                                                                                                                                                      $6.889             .,




                                                            ui 1
                                                                                                                                                                                      CI)
                                                                                                                                                          US POSTAGE
4200 Northside Parkway, NW                                                                                 2_5 AUL,'                                      FIRST-CLASS
Building One, Suite 100                                                                                          t                                         FROM 30327
                                                                                                                                                           AUG 24 2018
Atlanta, GA 30327                                                                                                                                            stamp&



                                         9414 7118 9956 0153 1332 37
                                        RETURN RECEIPT REQUESTED



                                        Melissa Link, Commissioner
                                       -District 3, Athens-Clarke County, GA
                                        148 Hiawassee Ave.
                                        Athens GA 30601-1810                                                                350      DE
                                                                                                                          RETURN TO SENDER
                                                                                                                             UNCL AIMED
                                                                                                                          UNABLE TO FORWARD
                                                                                    U NC                          3032 73 as? 95              z .. 4— 05035
                                                                         3.0.3 .7 >3 OBI                         lds1   )1111r - 4 11.111/111111111i i9 1iilillulilan


                                                                                                                                                         -.4-vA,i*Ifialogrea
Darren-IMP-0m                                                                                                                                                              MYR




Penn Law LLC                                                                                                  ATLANTA AfillEFFICIP'31-
4200 Northside Parkway, NW
Building One, Suite 100                                                                                           `Y5 ALY"- 2 4:317-3 FTA
Atlanta GA 30327


                                          9414 7118 9956 0145 3877 16

                                         RETURN RECEIPT REQUESTED
                                        11111'111111111111" 11111111111111111'1111111111111111111111111

                                        Mike Hamby, Commissioner
                                        District 10, Athens-Clarke County,
                                        375 West Rutherford Street
                                        Athens GA 30606-4264
                                                                                                          41717-Xt w.
                                                                                                                          RETURN TO SENDER
                                                                                                                               UNCLAimE D                                                   I,S
                                                                                                                          U N AB L E TO F OR WAR D
